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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,                                  Case No. 1:24-cr-00091 (GHW)

              -v-
                                                           NOTICE OF MOTION
ANDREY KOSTIN et al.,

                               Defendants.




         PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law in Support

of Defendant Vadim Wolfson’s Motion to Suppress Device Passcode, the Declaration of David C.

Rybicki, dated November 25, 2024, and all other papers and proceedings, Defendant Vadim

Wolfson will move this Court, before the Honorable Gregory H. Woods, United States District

Judge for the Southern District of New York, located at 500 Pearl Street, New York, New York

10007, on the date and time to be set by the Court, for an order suppressing a device passcode and

the associated fruits of the search, and such other fair and equitable relief as may be appropriate.

         PLEASE TAKE FURTHER NOTICE that Defendant Gannon Bond takes no position on

this motion as it does not pertain to him and that the United States opposes it.

Dated:    November 25, 2024

                                                      /s/ David C. Rybicki
                                                      David C. Rybicki
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